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 1   LAW OFFICES OF SCOTT L. TEDMON
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 2
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 4   Telephone: (916) 449-9985
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 5

 6   Attorney for Defendant
     ALEKSANDR MIKHAYLOV
 7

 8

 9                                 UNITED STATES DISTRICT COURT

10                           FOR THE EASTERN DISTRICT OF CALIFORNIA

11
                                                )
12
     UNITED STATES OF AMERICA,                  )   Case No. 2:12-CR-0322-MCE
                                                )
13
                                                )   STIPULATION AND ORDER RE:
                              Plaintiff,        )
14
                                                    CONTINUANCE OF STATUS
                                                )   CONFERENCE
             vs.                                )
15
                                                )
     ALEKSANDR LASTOVSKIY, et al.,              )
16
                                                )   DATE: December 5, 2013
                             Defendants.        )   TIME: 9:00 a.m.
17
                                                )   JUDGE: Morrison C. England, Jr.
18                                              )

19           The United States of America, by and through Assistant U.S. Attorney Heiko
20
     P. Coppola; defendant Aleksandr Lastovskiy, by and through counsel Michael L.
21
     Chastaine; defendant Tatyana Shvets, by and though counsel Bruce Locke;
22
     defendant Aleksandr Mikhaylov, by and through counsel Scott L. Tedmon; and
23

24   defendant Hovik Mkrtchian, by and through counsel Richard E. Nahigian, hereby

25   stipulate and agree as follows:
26
             1. The status conference is currently set for December 5, 2013 at 9:00 a.m.
27
             2. By this stipulation, the above-named defendants now move to continue
28
     the status conference to Thursday, January 9, 2014 at 9:00 a.m., and to exclude


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 1   time from December 5, 2013 through January 9, 2014 under Local Code T4.
 2
     Plaintiff does not oppose this request.
 3
             3. The basis upon which the parties agree to this proposed continuance of
 4
     the status conference is as follows:
 5

 6           a.       The government has produced discovery which to date includes

 7                    approximately 1,000 pages containing witness statements, banking
 8
                      records, and investigative materials. The government advises it will be
 9
                      producing additional discovery to defense counsel. As such, defense
10
                      counsel needs additional time to review and analyze the additional
11

12                    discovery produced by the government, conduct independent defense

13                    investigation, and consult with their respective clients.
14
              b.      Counsel for each defendant believes that failure to grant the above-
15
                      requested continuance would deny their respective client the
16
                      reasonable time necessary for effective preparation, taking into
17

18                    account the exercise of due diligence.

19            c.      Plaintiff does not object to the continuance.
20
              d.      Based on the above-stated findings, the ends of justice served by
21
                      continuing the status conference as requested outweigh the best
22
                      interest of the public and the defendants in a trial within the original
23

24                    date prescribed by the Speedy Trial Act.

25            e.      For the purpose of computing time under the Speedy Trial Act, 16
26
                      U.S.C. § 3161, et seq., within which trial must commence, the time
27
                      period from December 5, 2013 to January 9, 2014, inclusive, is
28
                      deemed excludable pursuant to 18 U.S.C. § 3161 (h)(7)(a), B(iv); [Local


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 1                    Code T4] because it results from a continuance by the Court at the
 2
                      defendants request on the basis of the Court’s finding that the ends of
 3
                      justice served by taking such action outweigh the best interest of the
 4
                      public and the defendants in a speedy trial.
 5

 6           4. Nothing in this stipulation and order shall preclude a finding that other

 7   provisions of the Speedy Trial Act dictate that the additional time periods are
 8
     excludable from the period within which a trial must commence.
 9
             5. Finally, Scott L. Tedmon has been authorized by all counsel to sign this
10
     stipulation on their behalf.
11

12           Based on the foregoing, the undersigned parties agree and stipulate the

13   December 5, 2013 status conference be continued to January 9, 2014 at 9:00 a.m.
14
     IT IS SO STIPULATED.
15
     DATED: November 29, 2013              BENJAMIN B. WAGNER
16                                         United States Attorney
17
                                           /s/ Heiko P. Coppola
18                                         HEIKO P. COPPOLA
                                           Assistant United States Attorney
19

20
     DATED: November 29, 2013              LAW OFFICES OF MICHAEL L. CHASTAINE
21
                                           /s/ Michael L. Chastaine
22                                         MICHAEL L. CHASTAINE
                                           Attorney for Defendant Aleksandr Lastovskiy
23

24
     DATED: November 29, 2013              LAW OFFICES OF MOSS & LOCKE
25
                                           /s/ Bruce Locke
26
                                           BRUCE LOCKE
27                                         Attorney for Defendant Tatyana Shvets

28




     Stipulation and Order                                    Case No. 2:12-CR-0322-MCE
                                                  3
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 1   DATED: November 29, 2013     LAW OFFICES OF SCOTT L. TEDMON
 2
                                  /s/ Scott L. Tedmon
 3                                SCOTT L. TEDMON
                                  Attorney for Defendant Aleksandr Mikhaylov
 4

 5
     DATED: November 29, 2013     LAW OFFICES OF RICHARD E. NAHIGIAN
 6
                                  /s/ Richard E. Nahigian
 7                                RICHARD E. NAHIGIAN
                                  Attorney for Defendant Hovik Mkrtchian
 8

 9

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11
                                     ORDER
12

13           IT IS SO ORDERED.
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     Dated: December 3, 2013
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     Stipulation and Order                         Case No. 2:12-CR-0322-MCE
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